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        EXHIBIT A
About Us | LinkedIn
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                                                               About us


                                                                   About LinkedIn

                                    Want to know about our early days, members, metrics, and more?
                                                         Here’s a quick view of who we are.



      Company Information
            LinkedIn's founders are Reid Hoffman, Allen Blue, Konstantin Guericke, Eric Ly and Jean-
            Luc Vaillant. LinkedIn started out in the living room of co-founder Reid Hoffman in 2002.
            The site officially launched on May 5, 2003. At the end of the first month in operation, LinkedIn
            had a total of 4,500 members in the network.
            The company has a diversified business model with revenues coming from talent solutions,
            marketing solutions and premium subscription products.
            LinkedIn's global headquarters are in Sunnyvale, California, with EMEA headquarters in
            Dublin and APAC headquarters in Singapore. LinkedIn U.S. offices are in Chicago, Los
            Angeles, New York, Omaha, San Francisco, Sunnyvale and Washington D.C. International
            LinkedIn offices are located in Amsterdam, Bangalore, Beijing, Dubai, Dublin, Graz, Hong
            Kong, London, Madrid, Melbourne, Milan, Mumbai, Munich, New Delhi, Paris, Perth, São
            Paulo, Shanghai, Singapore, Stockholm, Sydney, Tokyo and Toronto.
            LinkedIn is currently available in 24 languages: Arabic, English, Simplified Chinese, Traditional
            Chinese, Czech, Danish, Dutch, French, German, Indonesian, Italian, Japanese, Korean,
            Malay, Norwegian, Polish, Portuguese, Romanian, Russian, Spanish, Swedish, Tagalog, Thai
            and Turkish.
            LinkedIn has more than 10,000 full-time employees with offices in 30 cities around the world.
            LinkedIn started off 2012 with about 2,100 full-time employees worldwide, up from around
            1,000 at the beginning of 2011 and about 500 at the beginning of 2010.


      Worldwide Membership


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            LinkedIn operates the world’s largest professional network on the Internet with more than 500
            million members in over 200 countries and territories.
            Professionals are signing up to join LinkedIn at a rate of more than two new members per
            second.
            There are more than 40 million students and recent college graduates on LinkedIn. They are
            LinkedIn's fastest-growing demographic.




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      Regional membership

      158+M EMEA
      138+M USA
      118+M Asia and the Pacific


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      70+M LATAM
      22+M MENA
      22+M Southeast Asia




      For more information about our company, please visit our Company Page and check out
      our LinkedIn Blog.

      For more information about our Products & Services, visit our Products & Services page.

      For more information, please visit our Press Center. Members of the media may direct inquiries to
      press@linkedin.com



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